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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, ) INFORMATION
)
Plaintiff, yi
5: 25CROO2Z9%
v. ) CASE
) Title 18, United States Code
WILLIAM MICHAEL CLARK, ) Sectif Gla PE ARSON
)
Defendant. )

MAG. JUDGE HENDERSON

COUNT |
(Bribery, 18 U.S.C. § 201(b)(1)

The Acting United States Attorney charges:

From in or around July 2019 to in our around July 2023, in the Northern District of
Ohio and elsewhere, Defendant, WILLIAM MICHAEL CLARK, directly and indirectly did
corruptly give, offer, and promise a thing of value to a public official, with intent to
influence an official act, that is CLARK did agree to give, offer, and promise cash
payments to J.R. on behalf of a company in return for influencing the performance of
official acts while J.R. was employed at the United States Postal Service.

In violation of Title 18, United States Code, Section 201(b)(1).

CAROL M. SKUTNIK
Acting United States Attorney

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DAVID M. TOEPFER, CHIEF
Akron/Y oungstown Branch

By:

